Case 2:19-cv-10167-GAD-EAS ECF No. 214-8, PageID.5936 Filed 10/12/23 Page 1 of 13

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           US    -   Application Part 1- 30439BR : Production Supervisor for Johnson, Deanna

                Some fields on this Application Form were completed during the initial apply process. Please review
                your previous responses and update any fields that have changed. There are new fields to complete
                prior to Intervlewing,please complete the additional fields and click 'Save' to submit.



                Personal Data (Please provide your legal name as it appears on your Social Security Card)

           FIrst Name                                     Middle Name                            Last Name


       Deanna                                                                                   Johnson


                                                          Known As (Nick Name)
           Suffix
                                                          Deanna




                 Current Address

           Home Address                                    Address Line 2 (if needed)            City


       29752 Farmbook villia lane                                                                Southfield


                                                           Zip Code (Home)
           State (Home)                                                                           Country - Current Address
                                                          48034
           MI                                                                                    United States


                                                           US Socla! Security Number
           Is this your permanent address7                 (hidden   4/25/16)
           This is the address that will be used
           for relocation benefits, if qualified

           Yes




            Primary Phone                                  Other Phone                            Preferred Phone

                                                                                                  Prlmary Phone
           313-454-8825

                                                            Do you want to provicle a link to
            Best time to call                              your online Portfolio?

           Morning                                         No




            Primary Email                                   Do you have a School Email
                                                            Address?


                                                                                                                                   Q
           djok123@hotmail.com
                                                           No


            Preferred Email

            Primary Email                                                                                             JOhnson
                                                                                                                     EXHIBIT11
                                                                                                                       12/19/19
                                                                                                                    Rptr Cheri Poplin




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Case 2:19-cv-10167-GAD-EAS ECF No. 214-8, PageID.5937 Filed 10/12/23 Page 2 of 13

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        Are you at least 18 years old?


            Only U.S. Citizens or aliens who        verify a legal authorizatlon to work in the U.S. are eligible for
            employment.

       Are you eligible to work in the               WIII you now or in the future               If you are in the U.S. on a visa
       United States permanently and                 require immigration sponsorship             please specify your visa category,
       indefinitely?                                 for employment visa status?                 (*Note: as of 3.29.2017 this field
                                                                                                 is no longer visible to
   Yes                                               No                                          candidates.)



       Have you previously worked for
       Ford Motor Company?

   No




       Type of Work Desired (Choose                   Date Available for Employment              What is your desired annual
       one)                                                                                      salary7
                                                     11-
    Full Time                                        300                                         60-70
                                                     2018


                                                                                                 What is your desired total direct
                                                                                                 compensation (annual salary
                                                                                                 and bonus)?

                                                                                                 65-75


             Education

       Do you have college education?                 Do you have Vocational or                   Do you have any Certifications    or
                                                      Technical education7                        Licenses?
    Yes
                                                     No                                          No




            College/University
            Note: Start with your most recent college/university. For applicants currently pursuing a degree, enter the
            degree program you are currently pursuing in this section. Use the "Received or expected (Degree 1) field
            to enter the date the degree wlli be recieved.


       Most recent Type of Degree                     Most recent College or University           Most recent Minor (Degree 1)
       (Degree 1)                                     Name (Degree 1)
                                                      Search tip: one word only                  Business-
       Associates                                     (ex: 'Michigan') or partlal word           Facility
                                                      (ex: 'Mich'). If your school is not        Management
                                                      IIsted, search on 'other' for
        Please confirm this is your most
                                                      options,
        recent education                                                                          Out of a Possible (Degree 1)
                                                      Wayne
       Yes
                                                      State
                                                      Unlversity   -




                                                      MI                                          Received or expected (Degree 1)




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       Most recent Major GPA (Degree                                                                      21-Jun-1989
       1)                                                     Most recent Overall GPA (Degree
                                                               1)
                                                                                                          City (Degree 1)
       If no degree credits earned
       (Degree 1)                                                                                         Detroit

                                                              Graduated (Degree 1)

       State (Degree 1)                                       Yes



                                                              Country (Degree 1)
                                                              United States



       Do you have additional college education?                         No




             Additional Education

       Graduated       -
                            Additional Education              City - Additional Education




             Scholarship

       Are you a Ford Scholarship
       reciplent?

    No




             Other Languages

       What foreign languages do you                           What foreign languages do you               What foreign languages do you
       read7                                                   write7                                      speak?




       Do you have work experience to add7                          No




             Work Experience        -   Start with your most recent employer. NOTE: If you do not have work experience, please
             enter N/A.

        Employer      1 Name                                   Please confirm this is your most            May we contact your current
                                                               recent employer.                            employer7
       tri force manufacturing
                                                              Yes                                         Yes


        Position Title - Employer                 1
                                                               Address                                     Average Number of Work Hours
                                                                                                           per week - Employer 1
       quality inspection    specialist
                                                              8100 east Jefferson
                                                                                                           30-40
        Dates Employed From -
        Employer 1                                             Dates Employed To - Employer       1




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   08-Feb-2017                                                11-Jun-2018


       Duties - Employer           1




   Supervised       26 employees


       Root cause analysis


   Quality Inspection

       Technical reports


       Reason for Leaving - Employer                    1



       Not enough hours



       Add Employer #2?

       Yes



              Employer 2

        Employer      2   Name                                    Position Title - Employer   2      Address - Employer     2


       z tech   manufacturing                                 quality                               26015 capital dr



        Dates Employed From                -

                                                                  Dates Employed To - Employer 2     Average Number of Work Hours
        Employer 2                                                                                   Per Week - Employer 2
                                                              02-
       02-                                                    Feb
                                                                                                    35-40
       Feb-                                                   2017
       2015


        Duties - Employer 2

       Inspection of Raw materials

       Assistant to chemist



        Reason for Leaving - Employer 2

       Growth


        Add Employer #37

       Yes




              Employer 3

        Employer      3 Name                                      Positlan Title - Employer 3        Address - Employer      3


       Cadillac plastics manufacturing                            production supervisor              29784 little mack




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       Dates Employed From -                             Dates Employed To - Employer 3         Average Number of Work Hours
       Employer 3                                                                               per Week - Employer 3
                                                     02-
   20-                                               Mar-                                   50-60
   Aug-                                              2015
   2008
                                                                                                Reason for Leaving - Employer   3

       Duties    -   Employer 3
                                                                                            Growth

   Supervised        34 employees


   VIsual Add-ons


   Supervised        Coc training


   Ad-Hering to 5S Methodology


        Carefully read the paragraph below before signing and dating the application.
        I understand that my employment will be contingent upon my submitting to a physical examination to
        assure that I am physically able to perform the type of employment for which I am applying. I consent
        to my urine sample being taken and used to determine whether I meet the company's requirement
        concerning absence of recent drug use in order to be considered for employment. I further understand
        that medical and other information disclosed to the Company's examining physician or shared with the
        Company as part of the employment application process is not for treatment as a patient, and is not
        privlieged. I understand that my employment will be subject to verification of the information I have
        provided on this application and any related documents or resume.

        I understand that it may be necessary for the Company to use consumer reporting agencies to verify
        such information  provided by me and that any information obtained may be retained by those agencies
        and subsequently used in later reports. I understand that the Company chooses consumer reporting
        agencies with care.

        I understand that should use of a consumer reportingagency for verification of the information provided
        by me be deemed necessary, I will be contacted to complete releases to the partles from whom
        verification will be sought, and that I may make a written request to the Company location to which I
        applied for a copy of the verification report.

        Alternatively, I may make a written request of the consumer reporting agencies for additional
        Information as to the nature and scope of the verification report. I understand that if the need to correct
        or amend any statement on the verification report arises, I may notify the Company location to which I
        made appilcation.

        I understand that the Company will not make any unwarranted disclosure of information                  generated in
        the process of application to persons outside the company without my consent.

            I understand that only U.S. citizens and allens legally authorized to work in the U.S. are eligible for
            employment consideration, and that my eligibility will be subject to verification, as required by law, if I
            am selected for employment. In particular, aliens seeking full-time employment must provide proof of
            legal authorization to work in the U.S. on the type of job for which they are applying.

            By typing my name below and clicking "Save," I hereby certify that the Information above is true and
            correct to the best of my knowledge. I further acknowledge and understand that my electronic signature
            shall have the same legal effect as a handwrltten signature.

       Signature

       DeAnna nJohnson



       Date




                                                                                                                Ford/D. Johnson 5
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                Date added                           26-May-2018                Submission,   System   ()


                Last action                          11-Sep-2018                djok123@hotmail.com

                                                          Close      View Image PDF




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                                                                                                                  Ford/D. Johnson 6
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           US - Application Part 2 - 30439BR      :   Production Supervisor for Johnson, Deanna

            Application Part 2

            This portion of your application will be detached and maintained separately. It will be used only when the
            information is relevant to your application. If employed, this information will not become part of your
            permanent employment record.

             Criminal convictions will not automatically disqualify an applicant from employment, Do not include charges
             expunged, convictions adjudged "youthful offender" or "juvenile," or convictions for minor traffic violations
             (note: driving while under the influence is not considered a minor traffic violation; therefore, these convictions
             should be disclosed).

       Have you ever been convicted of a violent crime punishable by more than 15 years imprisonment?                    No



       Have you been convicted of any crime within the last seven years?                No


       Have you been arrested and charged with               a   crime, the prosecution of which is currently pending7   No




       If the answer is "yes" to any of these inquiries, Identify the crime(s) you were convicted of and/or the crime(s)
       for which you are currently being prosecuted. For each such offense, please provide your legal name at the time
       of arrest, the court in which you were or are being prosecuted, any sentences or penalties imposed (including
       dates) and the terms of any probation(s) (including dates), if applicable.




             By typing my name below and clicking "Save," I hereby certify that the information above is true and correct
             to the best of my knowledge. I further acknowledge and understand that my electronic signature shall have
             the same legal effect as a handwritten signature.

                   Signature     DeAnna Johnson                                              Date   12-Jun-2018




            NOTE: The following 2 questions below are no longer valid and have been replaced witli the questions above. The 2 questions
            below are only visible to Recruiter, Program Coordinator and HRBO Users to be able to view historic data on Candidates prior to
            the revision.
            Effective September 2013


           Have you, at any time on or prior to the date you signed the Application for Salaried Employment to which this
           sheet is attached, been convicted of a felony or misdemeanor (including any alcohol-related convictions) within
           the last five years? Do not include arrests without conviction, charges expunged, convictions adjudged "youthful
           offender" or "juvenile", or civil infractions involving traffic violations.



           If yes, please briefly describe the circumstances of your conviction and your name at that time; indicating the
           date, nature, and place of the offense and disposition of the case including any rehabilitation. Your answer is
           looked upon only as one of the factors considered in the employment decision and is evaluated in terms of the
           nature, severity, and date of the offense.



            CIIcking on Save submits your completed appilcation to Ford. If you would like a copy for your records, please
            print prior to saving.




                    Date added                           12-Jun-2018                   djok123@hotmaiLcom


                                                                   o        View Image PDF




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                               GatewayQuestionnairescore:       0

                                Job Specific Questions score:    4


                                                 Total score: 4



 What fevel of education have you completed or wul Associate's Degree
          complete prior to beginning this position?                                                                                   1



                          What    is   your field of study?     Automotive Technology (All Disciplines)
                                                                                                                                       1



                   What   is   your work authorization?         US    Citizen
                                                                                                                                       i
 How many years of related work experience do you               10+
           have that is appilcable to this Posftfon7                                                                                   1




          Date added                                   26-May-2018                                  Submiss   System   ()




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                                                                                                                            Ford/D. Johnson 8
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                                                                                                                                                                                                                                      \




US   External RA GQ v.24

                                                                                                            To     Ouestions and Answers

                           DeAnna                     Johnson
                           Quality                inspection             Specialist
                           Southfield,                    Mi 48034
                           djok1230hotmall.com
                           3134548825
                           Work Experienœ
                           Quality Assurance                             Supervisor
                           Triton                force     Manufacturing                    -
                                                                                                 Detroit,      MI

                           February 2017 to Present
                           * Quality Management for 26 employees


                           * Root cause                         analysis        spedalist


                           * Inspection                        of all metal           and steel coatings


                           *
                                       Maintain          speed          sheet        of    expired materials

                           * Analyze


                           * Testing                    to assure         Quality               with    passing        results     87% bring          profit     margin
                           to hlghest                    in 6 me.


                           *
                                       Technkal            report of final                findings


                           * Saved                     30% of company                      budget with cost                    effective     materials.
                           Quality                    Inspection         Specialist

                           Z technologles                         -
                                                                       Redford,            MI
                           Februa     2015 to February 2017
                           * Responsible  for the Final Inspection                                                 of all products


                           *
                                       lnspection              of all raw materials                     using various             Instruments,
                           cheddng                      calibration,           sag, density,                and viscosity.


                           *
                                        Using         180 9001           Standards                achieving           positive     results


                               *
                                       Assistant           to Chemist                / using           root cause         analysis        to assure     Quality


                               *
                                        Responsible              for saving               25% of budget                  using     cost     effective     products


                               * Responsible                     for the Set up the laboratory equipment   needed                                               to
                               perform tests                     and  experiments and or product's for that day

                               * tesponsible                    for required               maintenance                 and/or calibration           on equipment


                               *
                                        (Cof A ) Certification                        of Analysis             Report       is given        if the procluEt           is

                               passable.                 If not passable                  II is adjusted              with various         chemicals           until

                               passable                 this    process             is done        with raw           materials.
                               Production                  Supervisor
                               Cadillac                Products          Inc    -
                                                                                     Roseville,          MI
                               August 2008                      to March             2015
                               * Supervised                     34 employees


                                   *                            assembled                                                        for Ford,
                                        Employees                                         various        plastic       parts                   GM, Chrysler,
                               and others                     with the         hlghest            mgards         to    safety first!

                                   *
                                        Managed                8-10     different plastic                 molding         machines.


                                   *Overseeing                   inspection               of all paits           as they are made              to Quality
                                   standards              and assure                customer             satisfaction.


                                   *
                                         5   s   methociology
                                   Customer               5ervice         Supervisor
                                   Pubilx         -
                                                       Sandy          Springs,        GA
                                   January 2004                   to .luly 2008
                                   * Responsible                      for daily start up, appearance                             of protiuct,       quality          of
                                   product,              assuring         product satisfaction.

                                   *
                                         Supervised              20-25         employees,                team         leader     of Safety      first   balanced          3
                                   times         a     day,
                                   *
                                         Prepared              all safe drops,                  and close out end of the day,                      taskof
                                       preparing          and         organizing,               scheduling,            for the next day andfor sNit.
                                       Education
                                   Associate
                                       SIdis
                                       Microsoft          outlook,Root cause                            analysis,        Mlcosoft         word, PowerPoint,               Excel,   Customer   support,   Spread
                                       sheets


                                       Codes:          30439BR           US SF.)ndeed




      Employment




                                                                                                                                                                                                                  Ford/D. Johnson 9
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                                         Are you a current US            Salaried Ford employee7            No



                                                                 Are you at least 18 years old?             YS



                               Have you previously worked for Ford Motor Company7 *

                                                         Type of Work Desired (Choose one) Funme

                                                       Are you a Ford Scholarshlp recipient?                A

                                                        What is your desired annual salary?                 open



        What is your desired total direct compensation (annual salary and bonus)?                           open




   Talent Profile

                                                                                                Resume

                                Do   you want to provide a link to your online Portfolio?                   No



                                                                                       Cover letter

                                                         Full    Legal   FIRST   Name/Given Name Deanna

                                                          Full Legal      LAST   Name(s)/Surname            Johnson



                                                                            Known As (Nick Name)            Deanna



                                                                                     Primary Phone 313-454-8825

                                                                                   Preferred Phone          Primary         Phone



                                                                            Primary Email Address djokl23®hotmaiLcom

                                                                                     Address Line 1         29752          Farmbook         villia lane



                                                                                                Country     United         States                                                   l




                                                                                                    City    SoutNield



                                                                           State/Region/Province            Michlgan



                                                                                    Zip/Postal Code 48034



    Education

                                                                 Do   you have college education?            Yes



  Most recent College or University Name (Degree 1)                                                          Wayne          State     Universîty-         MI

  Search tip: one word only (exl 'Michigan') or partial word (ex. 'idicf1'). If your
  school is not listed, search on 'other' for options.

                                                      Most recent Type of Degree (Degree 1)                  Associates



                                      Please     confirm this is your most recent education                  YE


                                                                                                             Business             Automotive        Manage
  Most recent Major (Degree 1)
                                                                                                                              -




  Search tip: one word only (ex: 'Engineer') or partial word (ex: 'Eng'). If your major
  is not listed, search on 'other' for options.


                                                                      Most recent Minor (Degree 1)           Business             Fadlity    Management



                                                                             Graduated (Dagree 1)            YE



                                                                Received or expected (Degree 1)              21-Jua-1989



                                                  Do you have additional         college education? A

                                         Do     you have Vocational or Technical education? *

                                                 Do   you have any Certifications or Llcenses? No



     Experience

                                                                                               Employer 1     tri force       manufacturing



                                       Please    confirm this isyour most recent employer. Ye

                                                                                                                 quality     inspection        spedallst
                                                                          Position Title   -
                                                                                               Employer 1




                                                                                                                                                               Ford/D. Johnson 10
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                                                              Dates Employed From       -
                                                                                                    Employer 1 08-Feb-2017

                                                                 Dates Employed To      -
                                                                                                    Employer 1    11       Jun-2018



                                                                                 Add Employer #27                 Yes



                                                                                                    Employer 2    z    tech   manufacturing



                                                                       Position Title · Employer 2                quohty



                                                              Dates Employed From           -
                                                                                                    Employer 2 02-Feb-2015

                                                                 Dates Employed To - Employer 2 07-Feb-2017

                                                                                 Add   Employer #37               Yes



                                                                                                    Employer 3    Cadillac      plastics   manufacturing



                                                                       Position Title           -
                                                                                                    Employer 3    production          supervisor



                                                              Dates Employed From - Employer 3                    20-Aug-2008


                                                                 Dates Employed To          -
                                                                                                    Employer 3 02-Mar-2015



    Source

                             Where did you learn about emPIDyment opportunities at Ford?                          Company         Employee



                                                                      Please   list who referred you              Donak!        "Q" Lowery




    confidential Information

                                                                                                        Gender Female

                                              Please   select your race from the categories listed                Black/African         American



                                                             Please check one gi the boxes below:                 NO, i DONT            MAVE A DISABILHY



                                                                                                    Your Name     DeAnna         Johnson



                                                                                        Today's Date 26-May-2018

  If you believe   you belong                         of protected veterans listed above, please
                                  to any of the categories                                                            I AM NOT A PROTECTED            VETEftAN

 indicate   by checking               box below. As a Government contractor subject to
                            the appropriate
 VEVRAA, We request this Information   irt order to measure   the effectiveness of the outreach  and
 positive recruitment effolts we undertake pursuant to VEVRAA.




    Additional Questions

            Are you ellgible to work in the United States permanently and indefinitely;                               Yes



  Will you now or In the future require immigration sponsorship for employment                                        No

  visa status?

      Submission Job Responses

   Job respçnse     -
                        Extemal   -
                                      USJ30439BR




     Acknowledgement

                                                                                                      Signature       DeAnna      rdohnson



                                                                                                           Date       26-May-2018




                    Date added                                           26-May 2018




                                                                                                                                                                 Ford/D. Johnson 11
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     DeAnna Johnson
     Quality inspection Specialist
     Southfield, MI 48034
     djokl23@hotmail.com
     3134548825



     Work Experience

     Quality Assurance Supervisor
     Triton force Manufacturing           -
                                              Detroit, MI
     February 2017 to Present
     *       Quality Management for 26 employees

     *       Root cause analysis specialist

     * Inspection       of all metal and steel coatings


     * Maintain speed sheet of expired materials


     * Analyze



     * Testing to assure        Quality with passing results 87% bring profit margin
     to highest in 6 mo.

      * Technical      report of final findings

      *      Saved 30% of company budget with cost effective materials.

      Quality Inspection Specialist
      Z technologies    Redford, MI
                            -




      February 2015 to February 2017
      *      Responsible for the Final Inspection of all products

      * Inspection of all raw materials           using various instruments,
      checking calibration,       sag,   density, and viscosity.

      *      Using ISO 9001 Standards achieving positive results

         *   Assistant to Chemist / using root cause analysis to assure Quality

         *   Responsible for saving 25% of budget using cost effective products

         *Responsible for the Set up the laboratory equipment needed to
         perform tests and experiments and or product's for that day




                                                                                       Ford/D. Johnson 12
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     * responsible   for required maintenance and/or calibration on equipment

     * (C of A  Certification of Analysis Report is given if the product is
               )


     passable. If not passable li is adjusted with various chemicals until
     passable this process is done with raw materials.

     Production       Supervisor
     Cadillac Products Inc  Roseville,
                               -

                                          MI
     August 2008 to March 2015
     * Supervised    34 employees

     * Employees assembled various plastic parts for Ford, GM, Chrysler,
     and others with the highest regards to safety first!

     *   Managed 8-10 different plastic molding machines.

     * Overseeing inspection of all parts as they are made to Quality
     standards and assure customer satisfaction.

     * 5 s   methodology

     Customer        Service       Supervisor
     Publix    Sandy Springs, GA
               -




     January 2004 to July 2008
     * Responsible for daily start up, appearance of product, quality of
     product, assuring product satisfaction.

     * Supervised  20-25 employees, team leader of Safety first balanced      3
     times a day,
     * Prepared all safe drops, and close out end of the day, task of

     preparing and organizing, scheduling, for the next day and/or shift.



      Education

      Associate


      Skills

      Microsoft outlook, Root cause analysis, Micosoft word, PowerPoint, Excel, Customer support, Spread
      sheets




                                                                                            Ford/D. Johnson 13
